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                             Exhibit B
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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF MICHIGAN


JEFFREY SCHREIBER, RICHARD
COLONY, KAY VREDEVELD, and                      Case No. 22-cv-00188-HYJ-RSK
MICHAEL SURNOW, individually and on
behalf of all others similarly situated,        Hon. Hala Y. Jarbou

                                                Mag. Judge Ray S. Kent
                    Plaintiffs,


        v.

MAYO FOUNDATION FOR MEDICAL
EDUCATION AND RESEARCH,

                    Defendant.

                    DECLARATION OF FRANK S. HEDIN IN
             SUPPORT OF PLAINTIFFS’ UNOPPOSED MOTION FOR
              FINAL APPROVAL OF CLASS ACTION SETTLEMENT

        I, Frank S. Hedin declare under penalty of perjury, pursuant to 28 U.S.C. §

1746 and based on my own personal knowledge, that the following statements are

true:

        1.     I am the founding partner of Hedin LLP and counsel of record for

Plaintiffs in this action. I submit this declaration in support of Plaintiffs’ Unopposed

Motion for Final Approval of Class Action Settlement, filed concurrently herewith.




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               RELEVANT PPPA LITIGATION EXPERIENCE

      2.     My co-counsel and I (“Class Counsel”) have been at the forefront of

litigation brought under the Michigan PPPA, and thus the results obtained in this

case derive from nearly a decade of efforts in this arena.

      3.     Beginning in 2015, Class Counsel began investigating and litigating

cases against publishers for alleged violations of the Michigan Preservation of

Personal Privacy Act (the “PPPA”). See, e.g., Edwards v. Hearst Commc’ns, Inc.,

No. 15-cv-09279 (S.D.N.Y.). The theory of liability was novel. Although a few other

cases had been filed against publishers, none had progressed through class

certification or summary judgment.

      4.     In 2016, the Michigan legislature amended the PPPA, effective July 31,

2016, to make “actual damages” a prerequisite to stating a claim and remove a

prevailing plaintiff’s entitlement to statutory damages. Following the effective date

of the amendment, and a decision from the Eastern District holding that cases filed

on or after July 31, 2016 were subject to the amended version of the statute, the

consensus among the plaintiff’s bar was that the PPPA was officially dead and, as

such, the filing of PPPA cases abruptly came to an end. See Raden v. Martha Stewart

Living OmniMedia, Inc., No. 16-12808, 2017 WL 3085371, at *4 (E.D. Mich. July

20, 2017), reconsideration denied, No. 16-12808, 2018 WL 460072 (E.D. Mich. Jan.

18, 2018) (case filed July 31, 2016) (last PPPA case filed by any firm other than


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Class Counsel, PPPA claim dismissed by court on ground that it was subject to

amended version of statute, even though disclosures in question occurred prior to

July 31, 2016 effective date of amendment).

      5.     Nevertheless, on May 29, 2018, nearly two years after the July 31, 2016

effective date of the Michigan legislature’s amendment to the PPPA, my firm

initiated Horton v. GameStop Corp., No. 1:18-CV-596 (W.D. Mich.). Gamestop was

a PPPA class action alleging that the defendant had disclosed the plaintiff’s and other

Michigan residents’ personal reading information between May 29, 2015 and July

31, 2016 (the effective date of an amendment to the PPPA) – in violation of the

unamended version of the PPPA that existed up until July 30, 2016. See Horton v.

GameStop Corp., 380 F. Supp. 3d 679, 681 (W.D. Mich. 2018). The defendant

moved to dismiss on the grounds that, inter alia, the complaint failed to state a claim

for violation of the unamended PPPA because the case had been filed after the

amendment’s July 31, 2016 effective date. Gamestop, 380 F. Supp. 3d at 682. In

successfully defeating this motion, my firm obtained the first decision in the country

holding that, regardless of the date on which a PPPA action is commenced, “the

unamended [PPPA] applies to . . . claims that accrued prior to July 31, 2016, and,

consequently, [a] plaintiff [asserting such a claim] [is] not required to plead actual

damages.” Gamestop, 380 F. Supp. 3d at 683. The Gamestop decision paved the way

for my co-counsel and my successful prosecution of the instant action against Mayo


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on behalf of the Settlement Class, because here, as in Gamestop, Plaintiffs allege

violations of the unamended, pre-July 31, 2016 version of the statute, arising from

Defendant’s disclosures of personal reading information that pre-dated the statutory

amendment’s July 31, 2016 effective date. Indeed, invoking the pre-July 31, 2016

version of the statute in this case enabled Plaintiffs to seek statutory damages for the

putative class, without showing “actual damages,” and thus was instrumental in

securing the Settlement presently before the Court.

       6.     After obtaining the Gamestop decision on September 28, 2018, my firm

and co-counsel initiated numerous additional PPPA actions against publishers of

written materials through June of 2019 (a “second wave” of PPPA litigation), further

 refining our skills for prosecuting such claims and, in the process, prevailing on other

 important legal issues implicated by the statute. E.g., Kokoszki v. Playboy

 Enterprises, Inc., No. 19-cv-10302-BAF-RSW (E.D. Mich., filed Jan. 30, 2019);

 Huguelet, et al. v. Maxim Inc., No. 19-cv-4452-ALC (S.D.N.Y., filed May 15, 2019);

 Chelone, et al. v. America’s Test Kitchen LP, No. 2:19-cv-11757-TGB-MKM (E.D.

 Mich., filed June 19, 2019); Forton v. TEN: Publishing Media, LLC, No. 1:19-cv-

 11814-JEL-PTM (E.D. Mich., filed June 19, 2019); Lin v. Crain Commc’ns Inc., No.

 19-cv-11889 (E.D. Mich., filed June 25, 2019).

       7.     For example, in Lin, my firm brought the first ever PPPA class action

 against a Michigan-based defendant on behalf of a non-Michigan-resident plaintiff


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and a proposed nationwide class. Lin v. Crain Commc’ns Inc., No. 19-11889, 2020

WL 248445, at *4 (E.D. Mich. Jan. 16, 2020). Specifically, the complaint alleged

that a Michigan-based company had disclosed, from its headquarters in Michigan,

the personal reading information of the plaintiff (a resident of Virginia) and all of its

other subscribers nationwide to third parties prior to July 31, 2016, in violation of

the unamended version of the PPPA. Lin, 2020 WL 248445, at *1. The defendant

moved to dismiss on the grounds that the PPPA only protects and is only enforceable

by Michigan residents, to the exclusion of out-of-state residents – presenting an issue

of first impression concerning the territorial reach of the PPPA. Lin, 2020 WL

248445, at *3. We defeated defendant’s motion, and in so doing obtained the first

decision in the country holding that the PPPA “allow[s] non-Michigan residents to

pursue claims against Michigan resident-defendants.” Lin, 2020 WL 248445, at *4.

 Although the extraterritoriality issue in Lin does not directly bear on the claims

 alleged in this case, my firm’s successful prosecution of the Lin action (together with

 our co-counsel) further cemented our ability to prevail on complex and novel issues

 under the PPPA and strengthened both our knowledge of the statute and our

 reputation litigating claims under it.

       8.     In this “second wave” of PPPA litigation, which spanned from

 September 2018 (when Gamestop was decided) through the end of July 2019, the

 consensus across the federal judiciary and the plaintiffs and defense bars alike was


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that the statute was governed by a three-year limitation period, and it was thus

universally understood at that time that claims for violation of the pre-amended

version of the statute would no longer be actionable as of July 31, 2019 (three years

after the amendment’s effective date). See Edwards v. Hearst Commc’ns, Inc., No.

15-CV-9279 (AT)(JLC), 2016 WL 6651563, at *1 (S.D.N.Y. Nov. 9, 2016) (noting

that “a three-year statute of limitations admittedly governs [the plaintiff’s PPPA]

claims”).

         9.    Nonetheless, after closely reviewing the Sixth Circuit’s decision in

Palmer Park Square, LLC v. Scottsdale Insurance Company, 878 F.3d 530 (6th Cir.

2017), my firm determined that the PPPA is actually subject to the six-year limitation

period found in M.C.L. § 5813, rather than the three-year period found in M.C.L. §

5805(2) (which up until that point had been universally applied in every prior PPPA

case).

         10.   Thus, on June 15, 2021, nearly five years after the effective date of the

PPPA’s amendment, and after extensive pre-filing investigative work, my firm

together with our co-counsel in this case, initiated the action Pratt v. KSE Sportsman

Media, Inc., No. 21-cv-11404-TLL-PTM (E.D. Mich.), which alleged violations of

the pre-amended version of the statute that accrued between June 15, 2015 (six years

 prior to the filing of the action) and July 30, 2016.

         11.   After further time-consuming investigative work, the Pratt action was


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followed by dozens of additional PPPA actions filed by my firm and co-counsel –

including the instant matter (discussed further below) – each of which depended on

the application of the six-year limitation period. See, e.g., Owen v. Kalmbach Media

Co., No. 21-cv-11814-VAR-KGA (E.D. Mich.); Devroy v. Annie’s Publishing, LLC,

No. 21-cv-11815-TGB-EAS (E.D. Mich.); Krassick v. Archaeological Institute of

America, No. 21-cv-00180-HYJ-RSK (W.D. Mich.).

       12.    On November 24, 2021, the defendant in Pratt moved to dismiss the

complaint on the ground that, inter alia, plaintiff’s claim was time-barred by section

5805(2)’s three-year limitation period. See Pratt v. KSE Sportsman Media, Inc., 586

F. Supp. 3d 666, 669 (E.D. Mich. 2022). On February 15, 2022, following full

briefing on the limitation-period question, the court presiding over Pratt issued a

published opinion denying defendant’s motion to dismiss in full, rejecting

 defendant’s argument that three-three period governs PPPA claims and holding that

 the six-year period found in section 5813 governs such claims. Pratt, 586 F. Supp.

 3d at 673 (holding that “[a] six-year statute of limitations applies to PPPA claims”).

       13.    After the decision in Pratt, my firm and our co-counsel briefed and

 prevailed on the same statute of limitations issue in several of our other PPPA cases

 filed in this so-called “third wave,” in both the Eastern and Western Districts of

Michigan. See, e.g., Krassick v. Archaeological Inst. of Am., No. 2:21-CV-180, 2022

WL 2071730, at *5 (W.D. Mich. June 9, 2022); Hall v. Farm Journal, Inc., No. 21-


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cv-11811-DML-APP (E.D. Mich.) (April 5, 2022 decision finding the plaintiff’s

claim to be timely and denying motion to dismiss; June 21, 2022 order denying

defendant’s motion for reconsideration and reaffirming prior decision on motion to

dismiss) (Hall, PageID.3669-92).

       14.   On the strength of these rulings holding that a six-year limitation period

governs PPPA claims, my co-counsel and I successfully settled, were appointed as

Class Counsel in, and obtained final approval of settlements in Pratt as well as

several other “wave three” PPPA class actions. See, e.g., Pratt v. KSE Sportsman

Media, Inc., No. 1:21-cv-11404, 2024 WL 113755 (E.D. Mich. Jan. 10, 2024)

 (approving $9.5 million class settlement for a settlement class that included 14,503

 persons and paid each class member approximately $420); Loftus v. Outside

 Integrated Media, LLC, No. 2:21-cv-11809 (E.D. Mich. Aug. 9, 2022)1 (approving

PPPA class settlement paying roughly $50 per claimant); Kain v. The Economist

Newspaper NA, Inc., No. 4:21-cv-11807 PageID.1369 (approving PPPA class

settlement paying roughly $261 per claimant); Strano v. Kiplinger Washington

Editors, Inc., No. 1:21-cv-12987 (E.D. Mich. Oct. 11, 2023) (approving class

settlement paying roughly $248 per class member); Moeller v. The Week



1
      See Aug. 9, 2022 Final Fairness Hearing Transcript at 7:9-8:2 (commending
work of counsel and noting that “the class has benefited in a concrete way” from the
“very effective work” done by the plaintiff’s counsel, “where the lawyers did
produce significant results for the class”) (PageID.3744-45).

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 Publications, Inc., No. 1:22-cv-10666 (E.D. Mich. Oct. 11, 2023) (approving class

 settlement paying roughly $248 per class member).

                           THE INSTANT LITIGATION

       15.    As an initial matter, prior to initiating the instant action (or any of the

 other “third wave” PPPA cases), my firm and our co-counsel performed a lengthy,

 several-months-long factual investigation into Mayo’s (and other defendants’)

 subscriber list disclosure practices in effect during the relevant pre-July 31, 2016

 time period. This investigative work began in December 2020 when my firm

 reviewed and analyzed relevant legal authorities addressing Michigan’s statutory

 scheme concerning limitation periods. Due to the confidential nature of Defendant’s

 alleged disclosures, our pre-suit investigation into the facts underlying this case (as

 well as industry-wide list disclosure practices generally) was extensive, and involved

 in-depth research into a number of publishing industry practices, including data

 appending and data cooperatives.

       16.    Moreover, the success of this case depended on Class Counsel

 successfully arguing that the amended version of the PPPA does not apply to claims

 that accrued prior to July 31, 2016 (even if the action asserting the claims is brought

 after that date), that a six-year limitation period governs such claims, that the

 applicable six-year limitation period was tolled for 102 days pursuant to the

 Michigan Supreme Court’s orders issued during the COVID-19 pandemic, and that


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 the presence of Defendant’s data card on a data-brokerage warehouse’s website

 today adequately establishes that Defendant was engaged in the same disclosure

 practices prior to July 31, 2016.

       17.    Prior to initiating this action in particular, my firm and I conducted a

 comprehensive pre-filing investigation concerning the specific factual and legal

 issues underlying Plaintiffs’ claims. These extensive pre-filing efforts included:

       • Researching the nature of Defendant’s business, its practices of
         selling newsletters, consumer-privacy policies, and public
         statements concerning the same;

       • Interviewing numerous individuals in Michigan who subscribed to
         Defendant’s publications prior to July 31, 2016, including about
         their process of purchasing a subscription and any disclosures they
         received or agreed to during the purchase process;

       • Researching and analyzing Defendant’s list rental and other
         disclosure practices, including years’ worth of archived versions
         of webpages containing statements made by Defendant and its
         affiliates concerning their data-sharing practices and practices of
         renting lists of Mayo Clinic Health Letter subscribers, as well as
         historical copies of data cards reflecting such practices that were
         publicly accessible online prior to July 31, 2016;

       • Analyzing versions of Defendant’s Privacy Policy, Terms of
         Service, and other public documents on its websites during the
         relevant time period;

       • Researching the relevant law and assessing the merits of a
         potential PPPA claim against Defendant and defenses that
         Defendant might assert thereto;

       • Reviewing caselaw and statutes concerning the applicable
         limitation period for a PPPA claim, analyzing the arguments


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                regarding a six-year period; and

          • Analyzing the arguments for the applicability of COVID-19
            tolling pursuant to Michigan Supreme Court’s administrative
            orders issued during the COVID-19 pandemic (the “COVID
            Orders”), including consulting with appellate lawyers briefing the
            matter before the Michigan Supreme Court.

          18.      As a result of this thorough pre-filing investigation, Class Counsel was

 able to develop a viable theory of liability for a PPPA claim against Defendant and

 prepare a thorough Complaint against Defendant, filed September 26, 2022. ECF

 No. 1.

          19.      And prior to Plaintiff Schrieber filing a First Amended Class Action

 Complaint pursuant to Fed. R. Civ. P. 15(a)(1) on January 3, 2023, Class Counsel

 conducted an even more comprehensive investigation concerning the specific factual

 and legal issues underlying Plaintiffs’ claims. ECF No. 19. As a result, Plaintiff

 Schrieber’s First Amended Complaint included four additional exhibits, providing

 further supporting documentation of improper disclosures during the applicable pre-

 July 31, 2016 time period, and additional allegations describing the implications of

 the same. See ECF No. 19, ¶¶ 3-10, & ECF Nos. 19-3, 19-4, 19-5, 19-6 (Exhibits B-

 E to the First Amended Complaint).

          20.      Thereafter, the Court entered a Case Management Order (ECF No. 23),

 and the Parties began conducting significant written and document discovery, which

 included the exchange of thousands of pages of documents and voluminous


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 electronically stored information, and the issuance of over 30 third-party subpoenas

 by Plaintiffs.

       21.    On January 17, 2023, Defendant filed a motion to dismiss pursuant to

 Fed. R. Civ. P. 12(b)(6), arguing, inter alia, that the First Amended Complaint failed

 to state a claim upon which relief could be granted. ECF Nos. 24-25.

       22.    On July 13, 2023, after full briefing, the Court issued an opinion and

 order denying Defendant’s motion to dismiss in its entirety. ECF Nos. 45-46.

       23.    Beyond prevailing on the motion to dismiss, Class Counsel faced

 multiple layers of factual complexity here, much of which was obscured at the outset

 due to Defendant’s alleged concealment of its practices from consumers.

       24.    This required both extensive preliminary investigation into Defendant’s

 business practices, methods of data collection and aggregation, and the nature of its

 relationships with various third-party data companies, and, additionally, steadfast

 pursuit of the information needed to prove the alleged disclosures here.

       25.    On June 26, 2023, Commerce Register, Inc. (“CRI”), one of the third

 parties subpoenaed by Plaintiffs, produced a document in response to Plaintiffs’

 subpoena concerning Defendant’s transmission of a subscriber list to The Salvation

 Army that occurred on or about June 20, 2016, squarely within the relevant time

 period. Thus, on July 27, 2023, Plaintiff Schreiber filed a Second Amended

 Complaint, which added Plaintiffs Vredeveld and Colony (persons who appeared on


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 the list transmitted to The Salvation Army) as plaintiffs and putative class

 representatives. ECF No. 49.

       26.    On August 10, 2023, Defendant filed its Answer to the Second

 Amended Complaint, which denied the allegations generally and asserted 12

 affirmative defenses to liability. ECF No. 50. Defendant made various challenges to

 the merits of the claims, raised statute of limitations defenses, and were prepared to

 assert numerous other defenses to the merits and the propriety of class certification,

 before this Court and the Sixth Circuit if necessary.

       27.    On October 10, 2023, SFG, LLC (“SFG”), Mayo’s agent and another

 of the third parties subpoenaed by Plaintiffs, produced materials in response to

 Plaintiffs’ subpoena indicating that SFG transmitted, on Mayo’s behalf, a Mayo

 subscriber list to CRI on June 23, 2016, squarely within the applicable class period.

 This discovery was spurred by SFG’s production to Plaintiffs’ counsel of a server

 log file that reflects the activity on SFG’s server housing Mayo’s data during the

 class period. Although Plaintiffs requested a copy of this log file in their subpoena

 issued to SFG on June 1, 2023, SFG consistently denied being in possession of a

 such a file for several months, including after multiple meet and confer efforts by

 Plaintiffs’ counsel. In response to these denials, and after numerous meetings and

 conferrals with SFG’s counsel, my firm served a subpoena for inspection of premises

 on SFG, setting a date for Plaintiffs’ counsel and a digital forensics firm selected by


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 Plaintiffs’ counsel to inspect the actual server at SFG’s headquarters in Big Sandy,

 Texas to locate the server’s log file that reflects the activity on the server during the

 class period. Shortly thereafter, on October 10, 2023, SFG’s counsel notified

 Plaintiffs’ counsel that it had located the log file, which had been in its possession

 all along, and produced the file to Plaintiffs’ counsel. The log file reflects, inter alia,

 a transmission of a Mayo subscriber list (containing the names and addresses of all

 persons who had purchased Mayo Clinic Health Letter subscriptions that were active

 as of July 18, 2013) to CRI on June 23, 2016. Thus, on February 9, 2024, Plaintiffs

 Schrieber, Vredeveld, and Colony filed the operative Third Amended Complaint,

 which added Plaintiff Surnow (who appears on the July 18, 2013 subscriber list) as

 a plaintiff and putative class representative. ECF No. 65.

       28.    From the outset of the case, the Parties engaged in direct

 communication, and as part of their obligation under Fed. R. Civ. P. 26, discussed

 the prospect of resolution.

       29.    On April 17, 2023, the Parties participated in an early settlement

 conference before Magistrate Judge Kent in Grand Rapids, which was unsuccessful.

       30.    Later on, on October 27, 2023, the Parties participated in a full-day

 mediation with Judge Rosen in Detroit, during which they made substantial progress

 but failed to reach a settlement.

       31.    Then, on December 11 and 12, 2023, the Parties participated in another


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 two full-day mediations with Judge Rosen in New York, which ultimately

 culminated in the preliminarily-approved settlement.

       32.     In preparation for each of these sessions of mediation, my co-counsel

 and I prepared detailed mediation statements outlining the strength of Plaintiffs’ case

 and comparing this matter with other, previously settled PPPA cases against

 publishers, in order to properly evaluate any potential settlement proposals and

 structures.

       33.     In advance of these mediation sessions, my co-counsel and I also

 thoroughly reviewed the voluminous discovery produced by Defendant and various

 third parties, and conducted extensive analysis of the size and parameters of the

 potential class (which included highly technical work performed by a database

 management expert hired by Class Counsel) and the strengths and weaknesses of

 Plaintiffs’ case (including, most notably, the applicability of COVID-19 tolling and

 the pending appeal before the Michigan Supreme Court concerning the same).

       34.     In the weeks following the sessions of mediation in New York before

 Judge Rosen, the Parties negotiated and finalized the Settlement Agreement,

 attached as Exhibit 1 to the Declaration of E. Powell Miller, conducted a competitive

 bidding process and selected the now Court-appointed Settlement Administrator –




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 Kroll Settlement Administration LLC (“Kroll”)2 – and worked together to finalize

 the Settlement Class List, which included the assistance of Plaintiffs’ database

 management expert.

       35.    The Parties agreed to the terms of the Settlement through experienced

 counsel who possessed all the information necessary to evaluate the case, determine

 all the contours of the class, and reach a fair and reasonable compromise after

 negotiating the terms of the Settlement at arm’s length and with the assistance of a

 neutral mediator. My co-counsel and I worked extensively with defense counsel to

 finalize and memorialize the agreement into a formal Class Action Settlement

 Agreement, including class notice documents. That process included rounds of

 revisions.

       36.    The resulting $52,500,000 non-reversionary preliminarily-approved

 Settlement secures the best-ever recovery in a PPPA case, both in terms of absolute

 dollars and dollars per-class member. Based on the records obtained in discovery,

 the preliminarily-approved Settlement Class includes 62,746 direct purchasers

 whose information was included on the following lists obtained in discovery:

 MAYO_Schreiber_000533 and MAYO_Schreiber_000519. With a $52,500,000

 non-reversionary Settlement Fund, each Class Member who does not exclude


 2
        Class Counsel conducted a competitive bidding process with the lowest bid
 being that tendered by Kroll. The bid is for $134,800, and this bid is a not to exceed
 price.

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 himself or herself from the Settlement will automatically receive a pro rata cash

 payment of approximately $540.00 to $700.00.

       37.    Prior to this settlement, the highest total settlement in a PPPPA case

 was in Edwards v. Hearst Communications, Inc., No. 15-cv-09279 (S.D.N.Y.),

 where the parties reached a $50,000,000 settlement on behalf of a settlement class

 comprised of over 1.9 million persons, and the highest per-class member recovery

 in a PPPA case was in Pratt v. KSE Sportsman Media, Inc., Case No. 1:21-cv-11404-

 TLL-PTM (E.D. Mich.), where the Parties reached a $9,500,000 settlement on

 behalf of a settlement class comprised of 14,503 persons who each received

 approximately $420. Thus, the preliminarily-approved Settlement is the best of its

 kind in two respects – both the total amount recovered ($52.5 million), as well as the

 amount recovered for each Settlement Class member ($540.00 to $700.00, which is

 approximately 20% greater than the next highest per-class member recovery in a

 PPPA settlement).

       38.    Plaintiffs and Class Counsel recognize that, despite our belief in the

 strength of Plaintiffs’ claims and Plaintiffs’ and the Class’s ability to ultimately each

 secure a $5,000 statutory award under the PPPA, the expense, duration, and

 complexity of protracted litigation would be substantial and the outcome uncertain

 in light of the significant risks of non-recovery posed by continued litigation.

       39.    Indeed, had this litigation continued, Plaintiffs and Settlement Class


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 members would have faced several significant risks of total non-recovery, both on

 questions concerning the merits of the claims and the ability of Plaintiffs to certify a

 class.

          40.   In particular, from the outset of the case, as noted above, Plaintiffs and

 Class Counsel recognized that the case presented a substantial and novel litigation

 risk pertaining to the applicability of COVID tolling to the statute of limitations.

 Specifically, at the time of filing, no court had ever considered whether the Michigan

 Supreme Court’s orders tolling the statute of limitations during the early days of the

 COVID-19 pandemic were applicable to a PPPA case. Moreover, the

 constitutionality of those orders has been challenged and is currently being

 addressed by the Michigan Supreme Court. See Armijo v. Bronson Methodist Hosp.,

 991 N.W.2d 593 (Mich. 2023) (setting briefing schedule and directing the

 scheduling of oral argument). Because the case was filed more than six years after

 the alleged unlawful disclosures, if this Court or the Michigan Supreme Court

 ultimately held that the COVID-19 tolling orders either do not apply to this case or

 are unconstitutional, the case would have been time-barred and the Settlement Class

 would have recovered nothing at all. Relying on this six-year period, Class Counsel

 initially believed that the latest that a suit could reasonably be filed was by July 31,

 2022. But, through extensive research and legal analysis, Class Counsel determined

 that the 101 days of tolling provided by the COVID Orders would allow a suit to be


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 brought through October 2022. My co-counsel and I have actively consulted with

 other Michigan litigants who were pursuing this theory, including the appellate

 counsel in the COVID Orders cases which have now been taken up by the Michigan

 Supreme Court.

       41.   Additionally, absent the Settlement, Defendant (through its highly

 experienced and skilled attorneys) indicated that it would have defended against

 Plaintiffs’ claims by arguing that the PPPA does not prohibit the disclosure of the

 magazine subscriptions information at issue (involving agent intermediaries), that

 Defendant provided appropriate notice of its practices, and that the information

 provided to CRI via SFG’s computer system did not constitute “disclosures” within

 the meaning of the statute. Defendant would also have mounted a vigorous defense

 at trial and beyond, including in any appeal from an adverse judgment or an order

 certifying a class, and that in light of the statutory damages at stake, Defendant

 would argue – in both the trial and appellate courts – for a reduction of any class-

 wide damages award on substantive due process grounds.

       42.   Following execution of the Settlement Agreement, my co-counsel and

 I then prepared Plaintiffs’ Motion for Preliminary Approval, Fee Petition, and

 Motion for Final Approval, which is being filed contemporaneously herewith.

             FAIRNESS & ADEQUACY OF THE SETTLEMENT

       43.   Plaintiffs and Class Counsel believe that the relief provided by the


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 settlement weighs heavily in favor of a finding that the settlement is fair, reasonable,

 and adequate, and well within the range of approval.

       44.    In this litigation, each of the Plaintiffs contributed substantial effort to

 advance the interests of the Settlement Class. Specifically, each of the Plaintiffs

 worked with Class Counsel to detail their subscription purchase history, including

 how they subscribed to the publications at issue; to inform Class Counsel that they

 did not agree in writing or otherwise to allow Defendant to sell or disclose their

 Personal Reading Information; that they did not receive notice of such disclosures,

 nor were they aware of them at all. Moreover, each of the Plaintiffs worked with

 Class Counsel to prepare at least one of the pleadings in the case and carefully

 reviewed them for accuracy and approved each before filing.

       45.    Plaintiff Schreiber’s involvement was particularly extensive. In

 addition to providing the assistance detailed above, he initiated the case by filing the

 initial Complaint, and assisted my firm and my co-counsel in our pre-filing

 investigation. Plaintiff Schreiber also actively conferred with Plaintiffs’ counsel

 prior to and during the settlement conference before Judge Kent early in the case, in

 addition to the three sessions of mediation before Judge Rosen that ultimately led to

 the Settlement.

       46.    In addition to providing the assistance detailed above, Plaintiffs

 Vredeveld and Colony were instrumental in providing my firm and my co-counsel


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 with information concerning their subscription histories that allowed us to confirm

 that they were included on the list transmitted to The Salvation Army. These

 Plaintiffs also assisted in preparing the second amended complaint and reviewing

 that pleading prior to its filing. Plaintiffs Vredeveld and Colony also actively

 conferred with Plaintiffs’ counsel prior to and during the three sessions of mediation

 before Judge Rosen that ultimately led to the Settlement.

       47.    In addition to providing the assistance detailed above, Plaintiff Surnow,

 although relatively new to the case, provided valuable information to my firm and

 my co-counsel concerning his subscription history that allowed us to confirm he had

 been included on the 2013 subscriber list transmitted to CRI on SFG’s server during

 the class period. He also assisted in preparing the operative third amended complaint

 and reviewed that pleading prior to its filing. Plaintiff Surnow also actively conferred

 with Plaintiffs’ counsel prior to and during the second and third sessions of

 mediation before Judge Rosen that ultimately led to the Settlement.

       48.    Moreover, all of the Plaintiffs filed this case knowing it would

 invariably reveal their statutorily-protected status as subscribers to Defendant’s

 publication, and kept in regular contact with Class Counsel, including on matters of

 strategy, discovery, mediation, and the prospects of settlement.

       49.    Plaintiffs also coordinated with Class Counsel to respond to formal

 discovery, including searching for documents such as records pertaining to their


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 magazine subscriptions, and were prepared to testify at deposition and trial, if

 necessary.

       50.    I am of the opinion that Plaintiffs’ active involvement in this case was

 critical to its ultimate resolution. They took their role as class representatives

 seriously, devoting time and effort to protecting the interests of the class. Without

 their willingness to assume the risks and responsibilities of serving as a class

 representative, I do not believe such a strong result could have been achieved.

       51.    Following this Court’s Order requiring supplemental briefing in a

 similar PPPA case, Kotila v. Charter Financial Publishing Network, Inc., Case No.

 1:22-cv-00704 PageID.1707-08, the requested service awards here were reduced

 with the consent of our clients.

              HEDIN LLP’S EXPERIENCE AND EXPENDITURES

       52.    With offices in Miami, Florida and San Francisco, California, Hedin

 LLP focuses on consumer and data privacy class actions and has successfully

 prosecuted dozens of such matters in state and federal courts as court-appointed class

 counsel, including in matters alleging claims for violation of Michigan’s

 Preservation of Personal Privacy Act (“PPPA”). E.g., Kokoszki v. Playboy

 Enterprises, Inc., No. 19-cv-10302-BAF (E.D. Mich.) (class counsel in action

 alleging sale of Playboy subscribers’ personal information in violation of the

 Michigan PPPA, obtained $3.8 million non-reversionary class settlement); Rivera et


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 al. v. Google, LLC, No. 2019-CH-00990 (Cir. Ct. Cook Cnty. Ill., Apr. 5, 2022)

 (class counsel in action alleging violations of Illinois’s Biometric Information

 Privacy Act (“BIPA”), obtained $100 million non-reversionary class settlement);

 Olsen, et al. v. ContextLogic Inc., No. 19CH06737 (Cir. Ct. Cook Cnty. Ill., Jan 7,

 2020) (class counsel in action alleging violations of the of the federal Telephone

 Consumer Protection Act (“TCPA”), successfully defeated defendant’s motion to

 compel arbitration and obtained $16 million non-reversionary class settlement);

 Donahue v. Everi Payments, Inc., et al., No. 2018-CH-15419 (Cook Cnty., Ill. Cir.

 Ct.) (class counsel in action alleging disclosure of consumers’ credit and debit card

 information on printed transaction receipts in violation of the federal Fair and

 Accurate Credit Transactions Act, obtained $14 million non-reversionary class

 settlement); Owens, et al. v. Bank of America, N.A., et al., No. 19-cv-20614-MGC

 (S.D. Fla.) (class counsel in action alleging the improper assessment of overdraft

 fees when accounts were not actually overdrawn, obtained $4.95 million class

 settlement); Liggio v. Apple Federal Credit Union, No. 18-cv-1059-LO (E.D. Va.)

 (class counsel in action alleging the improper assessment of overdraft fees for “non-

 recurring” debit card transactions misclassified as “recurring” debit card

 transactions, obtained $2.7 million class settlement). Over the past five years alone,

 my firm has recovered over $400 million in all-cash relief for the classes we have

 represented. See Firm Resume of Hedin LLP, a true and accurate copy of which is


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 attached hereto as Exhibit 1.

       53.    Overall, my firm has significant experience litigating class actions of

 similar size, scope, and complexity as here, regularly engaging in complex litigation

 involving consumer privacy, including PPPA cases.


       I declare under penalty of perjury that the above and foregoing is true and

 accurate. Executed this 15th day of May 2024 at Miami, Florida.

                                               /s Frank S. Hedin
                                                  Frank S. Hedin




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                             Exhibit 1
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                                          FIRM RÉSUMÉ

        Based in Miami, Florida, Hedin LLP represents consumers in class actions in state and
 federal courts nationwide. Our firm prosecutes difficult cases aimed at redressing injuries suffered
 by large, diverse groups of people. Over the past five alone, we have recovered hundreds of
 millions of dollars in relief for consumers and investors and facilitated important changes in
 business practices across a wide range of industries.

                                      Representative Matters

        Notable examples of our work include:

    •   Rivera, et al. v. Google LLC, Case No. 2019-CH-00990 (Cir. Ct. Cook Cnty.) (class
        counsel in action alleging defendant’s collection of “scans of face geometry” in violation
        of Illinois’s Biometric Information Privacy Act, $100 million settlement)
    •   Olsen, et al. v. ContextLogic Inc., No. 2019CH06737 (Ill. Cir. Ct. Jan. 7, 2020) (class
        counsel in action alleging violation of Telephone Consumer Protection Act (“TCPA”), $16
        million settlement)

    •   In re Maxar Technologies Inc. Shareholder Litigation, Case No. No. 19CV357070 (Cal.
        Sup. Ct., Santa Clara Cnty.) (class counsel in class action on behalf of investors, $36.5
        million settlement)

    •   In re Everi Holdings, Inc. FACTA Litigation, No. 18CH15419 (Ill. Cir. Ct. Jan. 7, 2020)
        (class counsel in 14 related actions alleging violations of Fair and Accurate Credit
        Transactions Act against various casino entities and common payment processor, $14
        million global settlement)
    •   Owens, et al. v. Bank of America, N.A., et al., No. 19-CV-20614-MGC (S.D. Fla.) (class
        counsel in overdraft fee class action, $4.95 million settlement)
    •   Liggio v. Apple Federal Credit Union, No. 18-cv-1059-LO (E.D. Va.) (class counsel in
        overdraft fee class action, $2.7 million settlement)
    •   Kokoszki v. Playboy Enterpises, Inc., No. 19-cv-10302-BAF (E.D. Mich.) (class counsel
        in action alleging violation of Michigan’s Personal Privacy Preservation Act (“PPPA”),
        $3.8 million settlement)
    •   Pratt et al. v. KSE Sportsman Media, Inc., No. 21-cv-11404- TLL-PTM (E.D. Mich.) (class
        counsel in action alleging violation of Michigan’s PPPA, $9.5 million settlement)


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    •   Chimeno-Buzzi v. Hollister Co. (S.D. Fla.) (class counsel in action alleging violation of
        TCPA, $10 million settlement)
    •   Farnham v. Caribou Coffee Co., Inc. (W.D. Wisc.) (class counsel in action alleging
        violation of TCPA, $8.5 million settlement)




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